        Case 2:18-cv-00131-TOR      ECF No. 1   filed 04/20/18   PageID.1 Page 1 of 14




 1 Hugh McCullough, WSBA No. 41453
   Jordan Clark, WSBA No. 49659
 2 Davis Wright Tremaine LLP
   1201 Third Avenue, Suite 2200
 3 Seattle, Washington 98101-3045
   206.757.8189 (telephone)
 4 206.757.7189 (fax)

 5
 6
 7
                          UNITED STATES DISTRICT COURT
 8                       EASTERN DISTRICT OF WASHINGTON
 9 RED LION HOTELS
   FRANCHISING, INC.,
10
                    Plaintiff,
11                                                No.
        v.
12                                                COMPLAINT
   CENTURY-OMAHA LAND, LLC;
13 and EDWIN W. LESLIE,
14                          Defendants.
15
           Red Lion Hotels Franchising, Inc. makes the following complaint against
16
     Century-Omaha Land, LLC, and Edwin W. Leslie.
17
                                          PARTIES
18
           1.      Plaintiff Red Lion Hotels Franchising, Inc. (“Red Lion”) is a
19
     Washington corporation with its principal place of business in Spokane,
20
     Washington.
21
22
23
                                                                         Davis Wright Tremaine LLP
     COMPLAINT - 1                                                                 L AW O FFICE S
                                                                            1201 Third Avenue, Suite 2200
                                                                               Seattle, WA 98101-3045
                                                                       206.622.3150 main · 206.757.7700 fax
       Case 2:18-cv-00131-TOR      ECF No. 1    filed 04/20/18   PageID.2 Page 2 of 14




 1        2.     Defendant Century-Omaha Land, LLC (“Century-Omaha”) is a
 2 limited-liability company organized under the laws of South Dakota whose two
 3 members are citizens of South Dakota.
 4        3.     Defendant Edwin W. Leslie (“Leslie”) is a citizen of Nebraska.
 5                            JURISDICTION AND VENUE
 6        4.     This Court has jurisdiction over this action pursuant to 28 U.S.C.
 7 § 1332 because the amount in controversy exceeds $75,000, exclusive of interest
 8 and costs, Red Lion is a Washington corporation with its principal place of
 9 business in Spokane, Leslie is a citizen of Nebraska, and Century-Omaha is a
10 citizen of South Dakota.
11        5.     This Court also has jurisdiction over this action pursuant to 15 U.S.C.
12 § 1121(a) and 28 U.S.C. §§ 1331 and 1367.
13        6.     Venue is proper in this district pursuant to 28 U.S.C. § 1391 because
14 Red Lion signed the contracts at issue in this district, and the contracts state that
15 the state and federal courts in and of Spokane, Washington will be the exclusive
16 venues for any dispute between the parties.
17        7.     This Court has personal jurisdiction over each Defendant because the
18 Defendants entered into transactions with a business located within the bounds of
19 this Court, each Defendant consented to this Court’s jurisdiction, and each

20 Defendant will be served with process.
21
22
23
                                                                         Davis Wright Tremaine LLP
     COMPLAINT - 2                                                                 L AW O FFICE S
                                                                            1201 Third Avenue, Suite 2200
                                                                               Seattle, WA 98101-3045
                                                                       206.622.3150 main · 206.757.7700 fax
       Case 2:18-cv-00131-TOR     ECF No. 1   filed 04/20/18   PageID.3 Page 3 of 14




 1                                        FACTS
 2        A.     Franchise License Agreement
 3        8.     On October 31, 2016, Red Lion and Century-Omaha entered into a
 4 Franchise License Agreement (as amended, the “Franchise License Agreement”).

 5 Red Lion and Century-Omaha amended the Franchise License Agreement on
 6 March 2, 2017.
 7        9.     Under the Franchise License Agreement, Red Lion granted Century-
 8 Omaha the limited right to use Red Lion’s intellectual property in connection with
 9 the operation of a hotel located in Omaha, Nebraska (the “Hotel”).
10        10.    In exchange for this right and other consideration given, Century-
11 Omaha agreed to pay certain affiliation, franchise, royalty, program, and
12 reservation fees, including those identified in Section 7 of the Franchise License
13 Agreement. Century-Omaha agreed to pay Red Lion’s attorney’s fees should Red
14 Lion hire legal counsel to collect any amounts due under the agreement.
15        11.    The Franchise License Agreement gave Red Lion the right to
16 terminate Century-Omaha’s rights if Century-Omaha failed to pay its debts under
17 the Franchise License Agreement. In the event of termination, Century-Omaha
18 would be required to immediately pay Red Lion all outstanding debts, together
19 with liquidated damages. Following termination, Century-Omaha would also be

20 required to immediately de-identify itself as a Red Lion franchise by removing all
21 Red Lion proprietary marks (the “Marks”) from the property.
22
23
                                                                       Davis Wright Tremaine LLP
     COMPLAINT - 3                                                               L AW O FFICE S
                                                                          1201 Third Avenue, Suite 2200
                                                                             Seattle, WA 98101-3045
                                                                     206.622.3150 main · 206.757.7700 fax
       Case 2:18-cv-00131-TOR     ECF No. 1   filed 04/20/18   PageID.4 Page 4 of 14




 1        12.   Any enforcement action involving Red Lion’s Marks under the
 2 Franchise License Agreement is within the exclusive jurisdiction of the state and
 3 federal courts in Spokane County, Washington.
 4        B.    Leslie’s Personal Guarantee of the Franchise License Agreement
 5        13.   On October 31, 2016, Red Lion and Leslie entered into an agreement
 6 whereby Leslie personally guaranteed Century-Omaha’s performance under the
 7 Franchise License Agreement (“FLA Guarantee”). Leslie reaffirmed his
 8 obligations under the FLA Guarantee on February 28, 2017.
 9        14.   The FLA Guarantee states that Leslie will be liable for the payment
10 and performance of all obligations under the Franchise License Agreement.
11        15.   The FLA Guarantee specifies that any enforcement action under the
12 guarantee will be governed by the laws of Washington and that Leslie submits to
13 the exclusive jurisdiction of the federal and state courts in Spokane County,
14 Washington. Leslie also waived any objection to venue in this Court.
15        C.    PIP Financing Agreement
16        16.   Red Lion and Century-Omaha are parties to a Property Improvement
17 Plan Financing Agreement dated October 26, 2016 (the “PIP Financing
18 Agreement”).
19        17.   Under the PIP Financing Agreement, Century-Omaha agreed to use
20 $750,000 loaned to it by Red Lion for the purpose of making certain specified
21 improvements.
22
23
                                                                       Davis Wright Tremaine LLP
     COMPLAINT - 4                                                               L AW O FFICE S
                                                                          1201 Third Avenue, Suite 2200
                                                                             Seattle, WA 98101-3045
                                                                     206.622.3150 main · 206.757.7700 fax
       Case 2:18-cv-00131-TOR    ECF No. 1    filed 04/20/18   PageID.5 Page 5 of 14




 1        18.   Century-Omaha’s obligations under the PIP Promissory Note are
 2 secured by a Deed of Trust, Assignment of Rents and Security Agreement dated
 3 October 25, 2016, for real and personal property in Omaha, Nebraska, described as
 4 “Lot 1, Lawnfield Replat No. 4, an administrative subdivision in the City of

 5 Omaha, in Douglas County, Nebraska.”
 6        19.   As evidence of its obligation to repay the loan, with interest, Century-
 7 Omaha executed a Promissory Note dated November 1, 2016 (the “PIP Promissory
 8 Note”), with an original maturity of April 30, 2017.
 9        20.   Upon default, interest began to accrue under the PIP Promissory Note
10 at the rate of 12 percent per annum.
11        21.   Century-Omaha has defaulted in its obligations under the PIP
12 Promissory Note by failing to make payment as and when required.
13        D.    Key Money Promissory Note
14        22.   On November 15, 2016, Century-Omaha executed and delivered to
15 Red Lion a Key Money Promissory Note (the “Key Money Note”) in the original
16 principal amount of $175,000.00. The loan under the Key Money Note amortized
17 over 10 years beginning on October 31, 2016. Red Lion ultimately funded
18 $169,833.46 of the Key Money Note. The Key Money Note was amended on
19 March 2, 2017, to provide for an additional principal loan of $175,000, although

20 Red Lion did not end up advancing the additional loan.
21        23.   If either party terminated the Franchise License Agreement, Century-
22 Omaha was required to pay Red Lion the principal balance plus interest at the
23
                                                                       Davis Wright Tremaine LLP
     COMPLAINT - 5                                                               L AW O FFICE S
                                                                          1201 Third Avenue, Suite 2200
                                                                             Seattle, WA 98101-3045
                                                                     206.622.3150 main · 206.757.7700 fax
       Case 2:18-cv-00131-TOR    ECF No. 1    filed 04/20/18   PageID.6 Page 6 of 14




 1 higher of 18 percent per annum and the maximum rate permissible under

 2 applicable law.
 3        24.   The Key Money Note requires Century-Omaha to pay Red Lion’s
 4 attorney’s fees and other costs and expenses incurred in collecting or enforcing the

 5 Key Money Note.
 6        25.   The Key Money Note held that any enforcement action would be
 7 governed by the laws of Washington and that the federal or state courts in
 8 Washington would have exclusive jurisdiction over that action.
 9        E.    Hotel Improvement Financing and Security Agreement
10        26.   On October 31, 2016, Red Lion and Century-Omaha executed the
11 Hotel Improvement Financing and Security Agreement (as amended, the
12 “Financing Agreement”). On March 2, 2017, Red Lion and Century-Omaha
13 amended the Financing Agreement.
14        27.   The Financing Agreement authorized a loan of up to $200,000 (later
15 amended to increase the loan to $400,000) from Red Lion to Century-Omaha to
16 finance the implementation of certain improvements to the Hotel, including the
17 purchase of new televisions, beds, a coffee station, and Wi-Fi network equipment
18 (the “Improvements”).
19        28.   The Financing Agreement also created a security interest in the
20 Improvements in favor of Red Lion. Red Lion perfected its security interest in the
21 Improvements by filing a financing statement with the Secretary of State for South
22 Dakota on March 26, 2018.
23
                                                                       Davis Wright Tremaine LLP
     COMPLAINT - 6                                                               L AW O FFICE S
                                                                          1201 Third Avenue, Suite 2200
                                                                             Seattle, WA 98101-3045
                                                                     206.622.3150 main · 206.757.7700 fax
        Case 2:18-cv-00131-TOR     ECF No. 1   filed 04/20/18   PageID.7 Page 7 of 14




 1         29.   On October 31, 2016, as evidence of the loan, Century-Omaha
 2 executed and delivered to Red Lion a Promissory Note (as amended, the “Note”) in
 3 the original principal amount of $200,000 later increased to $400,000 by an
 4 amendment dated March 2, 2017. The Note required Century-Omaha to pay.

 5 interest at a rate of two percent per annum and to make regular monthly payments
 6         30.   The Note made it clear that Century-Omaha would automatically
 7 default under the Note if it missed any payment. A default would result in all
 8 amounts payable under the Note becoming immediately due upon demand by Red
 9 Lion, with interest accruing from the date of default at a rate equal to the higher of
10 18 percent and the maximum per annum rate permissible under applicable law. The
11 Note also required Century-Omaha to reimburse Red Lion for all attorney’s fees
12 incurred in connection with collecting or enforcing the Note.
13         F.    Leslie’s Personal Guarantee of the Hotel Improvement
                 Financing and Security Agreement
14
           31.   On October 31, 2016, Red Lion and Leslie entered into a Guarantee of
15
     Financing and Security Agreement whereby Leslie personally guaranteed Century-
16
     Omaha’s obligations under the Financing Agreement, the Franchise License
17
     Agreement, and the Note (the “Financing Agreement Guarantee”).
18
           32.   The Financing Agreement Guarantee states that Leslie will be
19
     personally liable for full payment and performance of the Note should Century-
20
     Omaha become unable to perform its obligations.
21
           33.   The Financing Agreement Guarantee specifies that any enforcement
22
     action will be governed by the laws of the state of Washington and that Leslie
23
                                                                        Davis Wright Tremaine LLP
     COMPLAINT - 7                                                                L AW O FFICE S
                                                                           1201 Third Avenue, Suite 2200
                                                                              Seattle, WA 98101-3045
                                                                      206.622.3150 main · 206.757.7700 fax
        Case 2:18-cv-00131-TOR      ECF No. 1   filed 04/20/18   PageID.8 Page 8 of 14




 1 agrees to submit to the jurisdiction of the federal and state courts in Spokane

 2 County, Washington. Leslie also waived any objection to venue. On February 28,
 3 2017, Leslie reaffirmed his personal guarantee.
 4         G.     Termination of the Franchise License Agreement
                  and Default on the Note and Key Money Note
 5
           34.    On December 12, 2017, Red Lion sent a letter to Century-Omaha and
 6
     Leslie informing them that Century-Omaha was in default on both the Franchise
 7
     License Agreement and the Note. The letter detailed Century-Omaha’s failure to
 8
     make any payments under either agreement and demanded that Century-Omaha
 9
     cure its default by January 12, 2017. The letter also made clear that Leslie
10
     remained the guarantor of both agreements and would therefore be held personally
11
     liable for all obligations should Century-Omaha fail to cure its defaults.
12
           35.    Red Lion sent another letter on March 8, 2018 to Century-Omaha and
13
     Leslie terminating the Franchise License Agreement and accelerating all
14
     outstanding debts. Red Lion instructed Century-Omaha and Leslie to immediately
15
     de-identify the Hotel by removing all Red Lion Marks.
16
           36.    As of April 6, 2018, Century-Omaha was still using Red Lion’s
17
     proprietary marks and was still holding the Hotel property out as a Red Lion
18
     franchise.
19

20
21
22
23
                                                                         Davis Wright Tremaine LLP
     COMPLAINT - 8                                                                 L AW O FFICE S
                                                                            1201 Third Avenue, Suite 2200
                                                                               Seattle, WA 98101-3045
                                                                       206.622.3150 main · 206.757.7700 fax
        Case 2:18-cv-00131-TOR     ECF No. 1    filed 04/20/18   PageID.9 Page 9 of 14




 1                                        CLAIMS
 2         A.     Count One: Federal Trademark and Service-Mark
                  Infringement by Defendants Century-Omaha and Leslie
 3
           37.    Since March 8, 2018, Century-Omaha has used Red Lion’s
 4
     proprietary marks without Red Lion’s consent or approval in connection with the
 5
     Hotel, and has represented to customers that the Hotel is approved by, sponsored
 6
     by, licensed by, or otherwise connected with Red Lion.
 7
           38.    Century-Omaha’s actions are likely to have caused, and have caused,
 8
     customers and members of the public to believe that the Hotel is a franchised Red
 9
     Lion hotel and is connected with or operated under the aegis or approval of Red
10
     Lion, and that the guest services it offers are those of Red Lion or an authorized
11
     Red Lion franchisee.
12
           39.    These actions have been done with the full knowledge of Red Lion’s
13
     exclusive right to use, and to license to others to use, Red Lion’s Marks, and
14
     constitute willful, malicious, and fraudulent attempts to confuse and deceive
15
     customers into believing that the Century-Omaha hotel is sponsored by, approved
16
     by, licensed by, or otherwise connected with Red Lion.
17
           40.    By the acts complained of herein, Century-Omaha has unlawfully
18
     infringed Red Lion’s Marks pursuant to 15 U.S.C. § 1114. Such acts have been
19
     committed with the intent and purpose of appropriating and diminishing the
20
     goodwill and reputation associated with the Red Lion Marks.
21
           41.    By reason of Century-Omaha’s actions, Red Lion has been, and will
22
     continue to be, seriously and irreparably damaged unless Century-Omaha is
23
                                                                         Davis Wright Tremaine LLP
     COMPLAINT - 9                                                                 L AW O FFICE S
                                                                            1201 Third Avenue, Suite 2200
                                                                               Seattle, WA 98101-3045
                                                                       206.622.3150 main · 206.757.7700 fax
      Case 2:18-cv-00131-TOR    ECF No. 1    filed 04/20/18   PageID.10 Page 10 of 14




 1 preliminarily and permanently enjoined from using the Red Lion Marks. In

 2 addition, Century-Omaha has unlawfully profited, and Red Lion has been
 3 damaged, in amounts which have not yet been fully determined.
 4        42.   Century-Omaha has been unjustly enriched by its unauthorized usage
 5 of the Red Lion Marks, and Red Lion is entitled to damages, as well as reasonable
 6 attorney’s fees and costs.
 7        43.   Under the FLA Guarantee and the Financing Guarantee, Leslie
 8 unconditionally guaranteed Century-Omaha’s obligations to Red Lion under the
 9 Franchise License Agreement. Leslie is therefore liable for all obligations under
10 this agreement.
11        B.    Count Two: Breach of Franchise License Agreement, FLA
                Guarantee, and Financing Guarantee by Defendants Century-
12              Omaha and Leslie
13        44.   Century-Omaha breached the Franchise License Agreement by failing
14 to pay fees, costs, and other amounts payable under the agreement.
15        45.   Red Lion properly terminated the Franchise License Agreement on
16 March 8, 2018 due to Century-Omaha’s failure to perform under the terms of the
17 agreement.
18        46.   Under the FLA Guarantee and the Financing Guarantee, Leslie
19 unconditionally guaranteed Century-Omaha’s obligations to Red Lion under the

20 Franchise License Agreement. Leslie is therefore liable for all payments and
21 obligations under this agreement.
22
23
                                                                       Davis Wright Tremaine LLP
     COMPLAINT - 10                                                              L AW O FFICE S
                                                                          1201 Third Avenue, Suite 2200
                                                                             Seattle, WA 98101-3045
                                                                     206.622.3150 main · 206.757.7700 fax
      Case 2:18-cv-00131-TOR      ECF No. 1    filed 04/20/18   PageID.11 Page 11 of 14




 1           47.   Neither Century-Omaha nor Leslie has paid Red Lion outstanding
 2 fees, costs, or interest accrued under the Franchise License Agreement.
 3           48.   Red Lion is entitled to recover all damages in such amounts as will be
 4 proven at trial, as well as its reasonable attorney’s fees as provided for under both

 5 the Franchise License Agreement and the FLA Guarantee.
 6           C.    Count Three: Breach of PIP Financing Agreement and PIP
                   Promissory Note by Defendant Century-Omaha
 7
             49.   Century-Omaha breached the PIP Financing Agreement and PIP
 8
     Promissory Note by failing to pay amounts due thereunder.
 9
             50.   Red Lion is entitled to damages for breach of contract by Century-
10
     Omaha.
11
             D.    Count Four: Breach of Financing Agreement, Note, and
12                 Financing Agreement Guarantee by Defendants Century-Omaha
                   and Leslie
13
             51.   Century-Omaha breached its obligations under the Note and the
14
     Financing Agreement.
15
             52.   Red Lion properly accelerated the debt under the Note on March 8,
16
     2018.
17
             53.   Under the Financing Agreement Guarantee, Leslie unconditionally
18
     guaranteed Century-Omaha’s obligations to Red Lion under the Financing
19
     Agreement and the Note. Leslie is therefore liable for all payments and obligations
20
     under these agreements.
21
             54.   Neither Century-Omaha nor Leslie has paid Red Lion the outstanding
22
     debt or interest accrued under these agreements. Red Lion is therefore entitled to
23
                                                                         Davis Wright Tremaine LLP
     COMPLAINT - 11                                                                L AW O FFICE S
                                                                            1201 Third Avenue, Suite 2200
                                                                               Seattle, WA 98101-3045
                                                                       206.622.3150 main · 206.757.7700 fax
       Case 2:18-cv-00131-TOR      ECF No. 1    filed 04/20/18   PageID.12 Page 12 of 14




 1 recover all damages in such amounts as will be proven at trial, as well as its

 2 reasonable attorney’s fees as provided for under the Financing Agreement, the
 3 Note, and the Financing Agreement Guarantee.
 4         55.    Red Lion is also entitled to enforce its security interests in the
 5 Improvements by taking possession of the Improvements, selling them, and
 6 applying the proceeds to the obligations of Century-Omaha.
 7         E.     Count Five: Breach of Key Money Promissory
                  Note by Defendant Century-Omaha
 8
           56.    Red Lion terminated the Franchise License Agreement on March 8,
 9
     2018 due to Century-Omaha’s failure to perform under the terms of the contract.
10
           57.    Under the Key Money Note, upon termination of the Franchise
11
     License Agreement, Century-Omaha was required to pay Red Lion the principal
12
     balance plus interest.
13
           58.    Century-Omaha has not paid any of the outstanding debt or interest
14
     accrued. Red Lion is therefore entitled to recover all damages in such amounts as
15
     will be proven at trial, as well as its reasonable attorney’s fees as provided for
16
     under the Key Money Note.
17
                                   PRAYER FOR RELIEF
18
           WHEREFORE, RED LION prays for relief as follows:
19
           1.     Preliminary and permanent injunctive relief requiring Century-Omaha
20
     and Leslie to de-identify the Hotel and to otherwise comply with their post-
21
     termination obligations under the Franchise License Agreement and Leslie’s
22
     guarantees of these obligations.
23
                                                                           Davis Wright Tremaine LLP
     COMPLAINT - 12                                                                  L AW O FFICE S
                                                                              1201 Third Avenue, Suite 2200
                                                                                 Seattle, WA 98101-3045
                                                                         206.622.3150 main · 206.757.7700 fax
      Case 2:18-cv-00131-TOR    ECF No. 1   filed 04/20/18   PageID.13 Page 13 of 14




 1         2.   An award of damages from Century-Omaha for all amounts due to
 2 Red Lion, in such amounts as are proven at trial, based on Century-Omaha’s
 3 breach of the Franchise License Agreement, the Key Money Note, the PIP
 4 Financing Agreement, the PIP Promissory Note, the Financing Agreement, and the

 5 Note.
 6         3.   An award of damages from Leslie for all amounts due to Red Lion, in
 7 such amounts as are proven at trial, based on Leslie’s breach of the FLA Guarantee
 8 and the Financing Agreement Guarantee.
 9         4.   An award of Red Lion’s attorney’s fees and costs, as provided for
10 under the Franchise License Agreement, the Key Money Note, FLA Guarantee,
11 Financing Agreement, Note, and Financing Agreement Guarantee.
12         5.   Declaratory and injunctive relief to enforce Red Lion’s security
13 interests in the Improvements.
14         6.   Any other relief as may be just and equitable.
15
16
17
18
19

20
21
22
23
                                                                      Davis Wright Tremaine LLP
     COMPLAINT - 13                                                             L AW O FFICE S
                                                                         1201 Third Avenue, Suite 2200
                                                                            Seattle, WA 98101-3045
                                                                    206.622.3150 main · 206.757.7700 fax
      Case 2:18-cv-00131-TOR   ECF No. 1   filed 04/20/18   PageID.14 Page 14 of 14




 1

 2        DATED this 20th day of April, 2018.
 3
                                        Davis Wright Tremaine LLP
 4                                      Attorneys for Red Lion Hotels
                                        Franchising, Inc.
 5
 6                                      By s/ Hugh McCullough
 7                                        Hugh McCullough, WSBA No. 41453

 8                                      By s/ Jordan Clark
                                          Jordan Clark, WSBA No. 49659
 9
                                        1201 Third Avenue, Suite 2200
10                                      Seattle, WA 98101-3045
11                                      206.757.8189 (telephone)
                                        206.757.7189 (fax)
12                                      hughmccullough@dwt.com
                                        jordanclark@dwt.com
13
14
15
16
17
18
19

20
21
22
23
                                                                     Davis Wright Tremaine LLP
     COMPLAINT - 14                                                            L AW O FFICE S
                                                                        1201 Third Avenue, Suite 2200
                                                                           Seattle, WA 98101-3045
                                                                   206.622.3150 main · 206.757.7700 fax
